Case 2:04-cr-20384-SH|\/| Document 78 Filed 06/30/05 Page 1 of 2 Page|D 74

IN THE UNITED STATES DISTRICT COURT Fh£?in;zzZ:DB.
FOR THE WESTERN DISTRICT OF TENNESSEE

   

wEsTERN DIVISION GS`HH;SO PM 5:§7
UNITED sTATEs oF AMERICA, * ‘_JKM§Q¢§QAQ
iiiiiiii i 'TCPUF“
v. * cR. No. o4-20384-D
HECTOR POLENDO, JR., *
Defendant. *

 

ORDER

 

It is hereby Ordered that this Motion to Continue the
Suppression Hearing/Report Date is hereby Granted and a new

suppression hearing/report date is set for the \3 day of

15§\$»0\\)\>~5'\' , 200§, at 63,'00 a,.~m~.- '7'/;;, i'; q /'_//VA¢~
CSL$+*Qj~

Thus Ordered this Ek) day of June, 2005 at Memphis,

Tennessee.

 

ITED STATES DISTRICT COURT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

